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12
                                UNITED STATES DISTRICT COURT
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14                         EASTERN DISTRICT OF CALIFORNIA

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16
      PABLO MARQUEZ, p/k/a PABLO
17    STANLEY,                                  Case No.: 2:22-cv-00123-JAM-KJN
18          Plaintiff/Counter-Defendant,
                                                ANSWER TO AMENDED
19
      v.                                        COUNTERCLAIMS
20
      WILLIAM MOYNIHAN,
21
            Defendant/Counter-Claimant.
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                          ANSWER TO AMENDED COUNTERCLAIMS
1                       ANSWER TO AMENDED COUNTERCLAIMS
2          Counter-Defendant Pablo Marquez responds to Counter-Claimant William
3    Moynihan’s counterclaims as follows:
4                                       I.     Introduction
5          1.     Marquez has insufficient knowledge to admit or deny the allegations
6    contained in paragraph 1 of Moynihan’s counterclaims and therefore denies them.
7          2.     Marquez has insufficient knowledge to admit or deny the allegations
8    contained in paragraph 2 of Moynihan’s counterclaims and therefore denies them.
9          3.     Marquez has insufficient knowledge to admit or deny the allegations
10   contained in paragraph 3 of Moynihan’s counterclaims and therefore denies them.
11         4.     Marquez admits that Moynihan contacted Marquez in July 2021 on
12   Twitter. The content of those messages speaks for itself. Marquez denies all other
13   allegations in paragraph 4 of Moynihan’s counterclaims.
14         5.     Marquez admits that Moynihan worked on Marquez’s Robotos NFT project
15   before its launch. Marquez denies all other allegations in paragraph 5 of Moynihan’s
16   counterclaims.
17         6.     Marquez admits that he included Zack Tanner in Marquez’s Robotos NFT
18   project. Marquez further admits that he told Moynihan that he “would be down to split
19   everything three ways” before contacting Tanner about the project, determining how
20   Moynihan or Tanner would provide services in connection with Marquez’s Robotos NFT
21   project, or what funds they would receive from his project’s mint. Marquez denies all
22   other allegations in paragraph 6 of Moynihan’s counterclaims.
23         7.     Marquez admits that his Robotos NFT project has been successful and that
24   with that success his project has sustained revenues and that certain nonfungible tokens
25   associated with the project have sold for significant sums in secondary sales, including a
26   sale calculated at approximately $100,000. Marquez denies all other allegations in
27   paragraph 7 of Moynihan’s counterclaims.
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                         ANSWER TO AMENDED COUNTERCLAIMS
1          8.     Because the counterclaims do not identify what “the Robotos” are, Marquez
2    has insufficient knowledge to admit or deny the allegation that he “is claiming sole
3    ownership of … the Robotos.” Marquez denies all other allegations in paragraph 8 of
4    Moynihan’s counterclaims.
5          9.     Paragraph 9 of Moynihan’s counterclaims consists of conclusions of law and
6    no response is required. To the extent a response is required, Marquez denies all
7    allegations in paragraph 9.
8                                         II.   The Parties
9          10.    Marquez has insufficient knowledge to admit or deny the allegations
10   contained in paragraph 10 of Moynihan’s counterclaims and therefore denies them.
11         11.    Marquez admits that he resides in Mexico City, Mexico. Marquez denies all
12   other allegations in paragraph 11 of Moynihan’s counterclaims.
13                                 III.   Jurisdiction and Venue
14         12.    Paragraph 12 of Moynihan’s counterclaims consists of conclusions of law
15   and no response is required. To the extent a response is required, Marquez admits that
16   he resides in Mexico City, Mexico and that Moynihan seeks to satisfy the jurisdictional
17   requirements of this Court for diversity jurisdiction. Marquez denies all other allegations
18   in paragraph 12.
19         13.    Paragraph 13 of Moynihan’s counterclaims consists of conclusions of law
20   and no response is required. To the extent a response is required, Marquez admits that
21   Moynihan seeks to satisfy the jurisdictional requirements of this Court for supplemental
22   jurisdiction. Marquez denies all other allegations in paragraph 13.
23         14.    Paragraph 14 of Moynihan’s counterclaims consists of conclusions of law
24   and no response is required. To the extent a response is required, Marquez admits that
25   venue is proper in this District.
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27   ///
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                         ANSWER TO AMENDED COUNTERCLAIMS
1                                  IV.    General Allegations
2          15.   Marquez has insufficient knowledge to admit or deny the allegations
3    contained in paragraph 15 of Moynihan’s counterclaims and therefore denies them.
4          16.   Marquez has insufficient knowledge to admit or deny the allegations
5    contained in paragraph 16 of Moynihan’s counterclaims and therefore denies them.
6          17.   Marquez has insufficient knowledge to admit or deny the allegations
7    contained in the first sentence in paragraph 17 of Moynihan’s counterclaims and
8    therefore denies them. Marquez admits that profile picture or PFP NFTs may sometimes
9    focus on a character’s upper body or head to the extent such PFP NFT contains a design
10   featuring an anthropomorphic figure. Marquez denies all other allegations in paragraph
11   17 of Moynihan’s counterclaims.
12         18.   Marquez denies the allegations in paragraph 18 of Moynihan’s
13   counterclaims. For example, the Quetzalboto, Boomboto, and Robodad Robotos depicted
14   in the image associated with paragraph 18 are one of one or 1/1, meaning they are not
15   generative and were created solely by hand by Marquez without the use of a script.
16         19.   Marquez has insufficient knowledge to admit or deny the allegations
17   contained in the first sentence in paragraph 19 of Moynihan’s counterclaims and
18   therefore denies them.
19         20.   Marquez admits that he created Bottts, which were used in the Meta Bots
20   NFTs. Marquez denies all other allegations in paragraph 20 of Moynihan’s
21   counterclaims.
22         21.   Marquez admits that Moynihan contacted him through Twitter in
23   connection with the Meta Bots NFTs, with which Marquez informed Moynihan he was
24   not involved. The content of those conversations speaks for itself. Marquez denies all
25   other allegations in paragraph 21 of Moynihan’s counterclaims.
26         22.   Marquez admits that Moynihan told Marquez via a Twitter direct message
27   “you should launch your own project.” In that conversation, Marquez told Moynihan that
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                         ANSWER TO AMENDED COUNTERCLAIMS
1    he had already started his own NFT project. The content of that conversation otherwise
2    speaks for itself. Marquez denies all other allegations in paragraph 22 of Moynihan’s
3    counterclaims.
4          23.    Marquez admits that he sent Moynihan the image associated with
5    paragraph 23 of Moynihan’s counterclaims depicting the Techies, which includes robot-
6    like characters. Marquez denies all other allegations in paragraph 23 of Moynihan’s
7    counterclaims.
8          24.    Marquez has insufficient knowledge to admit or deny what Moynihan
9    “[r]ecognized” and therefore denies the allegations in the first clause of the first sentence
10   of paragraph 24 of Moynihan’s counterclaims. As for the remainder of that sentence,
11   Marquez admits that he and Moynihan spoke on the phone concerning Marquez’s NFT
12   project. Marquez denies all other allegations in paragraph 24 of Moynihan’s
13   counterclaims.
14         25.    Marquez admits that he texted with Moynihan on July 10, 2021 about
15   Marquez’s NFT project, inviting Moynihan to help him create what would become the
16   Robotos NFT project. The content of those text messages speaks for itself. Marquez
17   denies all other allegations in paragraph 25 of Moynihan’s counterclaims.
18         26.    Marquez     denies   all   allegations   in   paragraph   26   of   Moynihan’s
19   counterclaims.
20         27.    Marquez admits that he messaged Moynihan about bringing Zack Tanner
21   into Marquez’s NFT project. The content of those messages speaks for itself. Marquez
22   further admits that he and Tanner co-founded Blush. Marquez denies all other
23   allegations in paragraph 27 of Moynihan’s counterclaims.
24         28.    Marquez admits that he told Moynihan that he “would be down to split
25   everything three ways” between himself, Tanner, and Moynihan. The content of the
26   message otherwise speaks for itself. Marquez denies all other allegations in paragraph
27   28 of Moynihan’s counterclaims.
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                         ANSWER TO AMENDED COUNTERCLAIMS
1          29.    Marquez denies the allegations in paragraph 29 of Moynihan’s
2    counterclaims.
3          30.    Marquez denies the allegations in paragraph 30 of Moynihan’s
4    counterclaims.
5          31.    Marquez admits that had circulated notes and task lists to Moynihan and
6    Tanner after a call with them. Marquez denies all other allegations in paragraph 31 of
7    Moynihan’s counterclaims.
8          32.    Marquez admits that he tasked Moynihan with building the smart contract
9    for the Robotos NFT project. Marquez denies all other allegations in paragraph 32 of
10   Moynihan’s counterclaims.
11         33.    Marquez admits that a smart contract consists of lines of code, oftentimes
12   open-source code, and the purpose of a smart contract is to generally track NFT
13   transactions. Marquez denies all other allegations in paragraph 33 of Moynihan’s
14   counterclaims.
15         34.    Marquez denies the allegations in paragraph 34 of Moynihan’s
16   counterclaims.
17         35.    Marquez denies the allegations in paragraph 35 of Moynihan’s
18   counterclaims.
19         36.    Marquez admits the allegations in paragraph 36 of Moynihan’s
20   counterclaims.
21         37.    Marquez admits that before the launch of the Robotos NFT project,
22   Moynihan, Marquez, and Tanner each connected their respective wallets to the contract
23   to receive their respective primary sales associated with the initial mint proceeds.
24   Marquez admits that Moynihan, Marquez, and Tanner each had to sign before the
25   disbursement of initial mint proceeds. Marquez denies all other allegations in paragraph
26   37 of Moynihan’s counterclaims.
27         38.    Marquez denies the allegations in paragraph 38 of Moynihan’s
28   counterclaims.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1          39.    Marquez denies the allegations in paragraph 39 of Moynihan’s
2    counterclaims.
3          40.    Marquez admits that he instructed Moynihan to set up the Robotos
4    OpenSea account and set royalties at 4%, meaning that the project would derive that
5    portion of all post-mint sales made on OpenSea. Marquez denies all other allegations in
6    paragraph 40 of Moynihan’s counterclaims.
7          41.    Marquez admits that he told Moynihan to add Tanner, Moynihan, and
8    Marquez to the OpenSea account for the project. Marquez denies all other allegations in
9    paragraph 41 of Moynihan’s counterclaims.
10         42.    Marquez admits that Moynihan was responsible for other project-related
11   activities assigned to him by Marquez, including working on the Robotos website and
12   Discord channel. Marquez denies all other allegations in paragraph 42 of Moynihan’s
13   counterclaims.
14         43.    Marquez admits that he tasked Tanner with working on deploying an
15   algorithm to combine elements of Marquez’s artwork into images and GIFs. Marquez
16   has insufficient knowledge to admit or deny what experience Moynihan had from his
17   purported NFT collection with writing scripts. Marquez denies all other allegations in
18   paragraph 43 of Moynihan’s counterclaims.
19         44.    Marquez denies the allegations in paragraph 44 of Moynihan’s
20   counterclaims that he had only some “core” responsibilities. Marquez created and solely
21   managed the Robotos NFT project. He delegated tasks to Tanner and Moynihan and took
22   on the sole role of creating the artwork, which Moynihan had no contribution to or control
23   over. Marquez also promoted and marketed the project and was the sole name associated
24   with the artwork and project in social media and marketing efforts. The entire project
25   fell within Marquez’s “core” responsibilities, even though some tasks were delegated to
26   Tanner and Moynihan.
27         45.    Marquez denies the allegations in paragraph 45 of Moynihan’s
28   counterclaims.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1          46.    Marquez denies the allegations in paragraph 46 of Moynihan’s
2    counterclaims that Moynihan paid for project expenses without reimbursement.
3    Marquez paid Moynihan to cover the out-of-pocket costs associated with the tasks
4    assigned to him.
5          47.    Marquez admits that his project launched a presale of 900 Robotos tokens
6    on or about August 2, 2021, the day before the full sale. Marquez denies all other
7    allegations in paragraph 47 of Moynihan’s counterclaims.
8          48.    Marquez admits that Moynihan told him about a bug in the smart contract
9    on or about August 3, 2021, referring to it as a “small issue.” Marquez denies all other
10   allegations in paragraph 48 of Moynihan’s counterclaims.
11         49.    Marquez denies the allegations in paragraph 49 of Moynihan’s
12   counterclaims.
13         50.    Marquez admits that he, Tanner, and Moynihan discussed the last token
14   bug on or about August 3, 2021. Marquez denies all other allegations in paragraph 50 of
15   Moynihan’s counterclaims.
16         51.    The allegation that “it became instantly clear Robotos was an enormous
17   success” is a subjective matter of opinion, and on that basis Marquez denies it. As for the
18   remainder, Marquez has insufficient knowledge to admit or deny how many sales were
19   made per minute and therefore denies those allegations.
20         52.    Marquez admits that the Robotos website was not operating properly due
21   to Moynihan’s failure to use proper protocols. Marquez denies all other allegations in
22   paragraph 52 of Moynihan’s counterclaims.
23         53.    Marquez admits that he and Tanner discussed options in the #dev Discord
24   chat to find a solution to Moynihan’s last token bug. Marquez denies all other allegations
25   in paragraph 53 of Moynihan’s counterclaims.
26         54.    Marquez denies the allegations in paragraph 54 of Moynihan’s
27   counterclaims.
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                         ANSWER TO AMENDED COUNTERCLAIMS
1          55.   Marquez denies the allegations in paragraph 55 of Moynihan’s
2    counterclaims.
3          56.   Marquez admits that the project wallet minted the last Robotos token.
4    Marquez denies all other allegations in paragraph 56 of Moynihan’s counterclaims.
5          57.   Marquez admits that Moynihan’s personal wallet was removed from
6    OpenSea as the mint proceeds were actualized thus ending Moynihan’s entitlement to
7    share in the proceeds of Marquez’s project. Marquez has insufficient knowledge to admit
8    or deny what Moynihan “discovered” and therefore denies those allegations. Marquez
9    denies all other allegations in paragraph 57 of Moynihan’s counterclaims.
10         58.   Marquez admits that he initiated a call with Moynihan to inform him that
11   his involvement in Marquez’s project had completed now that the tokens were minted.
12   During that call Moynihan asked if there were other reasons for his termination other
13   than completion of the minting, and Marquez explained that Moynihan had a poor
14   attitude, failed to accept his mistakes, was absent for several days before the launch,
15   and failed to communicate the status of his tasks to Marquez. Marquez denies all other
16   allegations in paragraph 58 of Moynihan’s counterclaims.
17         59.   Marquez admits that he contacted OpenSea concerning the Robotos account
18   on or about August 4, 2021 and learned that there was a bug with the platform. Marquez
19   denies all other allegations in paragraph 59 of Moynihan’s counterclaims.
20         60.   Marquez    denies   all   allegations   in   paragraph   60   of   Moynihan’s
21   counterclaims.
22         61.   Marquez admits that he removed Moynihan’s wallet from the OpenSea
23   Robotos account. Marquez denies all other allegations in paragraph 61 of Moynihan’s
24   counterclaims.
25         62.   Marquez    denies   all   allegations   in   paragraph   62   of   Moynihan’s
26   counterclaims.
27         63.   Marquez    denies   all   allegations   in   paragraph   63   of   Moynihan’s
28   counterclaims.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1          64.    Marquez admits that once the Robotos tokens were minted and sold there
2    was nothing for Moynihan to do on the project anymore, as their agreement had been
3    fulfilled. Marquez denies all other allegations in paragraph 64 of Moynihan’s
4    counterclaims.
5          65.    Marquez    denies   all   allegations   in   paragraph   65   of   Moynihan’s
6    counterclaims.
7          66.    Marquez    denies   all   allegations   in   paragraph   66   of   Moynihan’s
8    counterclaims.
9          67.    Marquez    denies   all   allegations   in   paragraph   67   of   Moynihan’s
10   counterclaims.
11         68.    Marquez has insufficient knowledge to admit or deny what Moynihan
12   “discovered” and therefore denies those allegations. Marquez admits that he listed
13   Robotos on Nifty Gateway and that only Marquez received or receives royalties from
14   Nifty Gateway sales, as the owner of Robotos. Marquez denies all other allegations in
15   paragraph 68 of Moynihan’s counterclaims.
16         69.    Marquez admits that Robotos tokens were sold on Nifty Gateway. Marquez
17   denies all other allegations in paragraph 69 of Moynihan’s counterclaims.
18         70.    Marquez admits that he informed Moynihan that his discretionary
19   revenues would be decreased as he was no longer associated with Marquez’s project.
20   Otherwise, the content of that message speaks for itself. Marquez further admits that he
21   removed the project’s initial wallet on OpenSea. Marquez denies all other allegations in
22   paragraph 70 of Moynihan’s counterclaims.
23         71.    Marquez admits that Tanner wrote to Moynihan on Discord on or about
24   November 27, 2021, informing him that Marquez would pay him one-third of certain
25   OpenSea royalties. The content of those messages otherwise speaks for itself. Marquez
26   denies all other allegations in paragraph 71 of Moynihan’s counterclaims.
27         72.    Marquez admits that after he paid Moynihan on or about November 27,
28   2021, he stopped responding to Moynihan. Marquez also admits that his counsel sent

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                         ANSWER TO AMENDED COUNTERCLAIMS
1    Moynihan a cease-and-desist letter. The content of that letter speaks for itself. Marquez
2    denies all other allegations in paragraph 72 of Moynihan’s counterclaims.
3                                      First Claim for Relief
4          73.    No response is required to paragraph 73 of Moynihan’s counterclaims.
5          74.    Marquez    denies    all   allegations   in   paragraph   74   of   Moynihan’s
6    counterclaims.
7          75.    Marquez    denies    all   allegations   in   paragraph   75   of   Moynihan’s
8    counterclaims.
9          76.    Marquez    denies    all   allegations   in   paragraph   76   of   Moynihan’s
10   counterclaims.
11         77.    Marquez    denies    all   allegations   in   paragraph   77   of   Moynihan’s
12   counterclaims.
13         78.    Marquez    denies    all   allegations   in   paragraph   78   of   Moynihan’s
14   counterclaims.
15                                    Second Claim for Relief
16         79.    No response is required to paragraph 79 of Moynihan’s counterclaims.
17         80.    Marquez    denies    all   allegations   in   paragraph   80   of   Moynihan’s
18   counterclaims.
19         81.    Marquez    denies    all   allegations   in   paragraph   81   of   Moynihan’s
20   counterclaims.
21         82.    Marquez    denies    all   allegations   in   paragraph   82   of   Moynihan’s
22   counterclaims.
23         83.    Marquez    denies    all   allegations   in   paragraph   83   of   Moynihan’s
24   counterclaims.
25         84.    Marquez    denies    all   allegations   in   paragraph   84   of   Moynihan’s
26   counterclaims.
27                                    Third Claim for Relief
28         85.    No response is required to paragraph 85 of Moynihan’s counterclaims.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1          86.   Marquez   denies    all   allegations   in   paragraph   86   of   Moynihan’s
2    counterclaims.
3          87.   Marquez   denies    all   allegations   in   paragraph   87   of   Moynihan’s
4    counterclaims.
5          88.   Marquez   denies    all   allegations   in   paragraph   88   of   Moynihan’s
6    counterclaims.
7          89.   Marquez   denies    all   allegations   in   paragraph   89   of   Moynihan’s
8    counterclaims.
9                                   Fourth Claim for Relief
10         90.   No response is required to paragraph 90 of Moynihan’s counterclaims.
11         91.   Marquez   denies    all   allegations   in   paragraph   91   of   Moynihan’s
12   counterclaims.
13         92.   Marquez   denies    all   allegations   in   paragraph   92   of   Moynihan’s
14   counterclaims.
15         93.   Marquez   denies    all   allegations   in   paragraph   93   of   Moynihan’s
16   counterclaims.
17         94.   Marquez   denies    all   allegations   in   paragraph   94   of   Moynihan’s
18   counterclaims.
19         95.   Marquez   denies    all   allegations   in   paragraph   95   of   Moynihan’s
20   counterclaims.
21         96.   Marquez   denies    all   allegations   in   paragraph   96   of   Moynihan’s
22   counterclaims.
23                                   Fifth Claim for Relief
24         97.   No response is required to paragraph 97 of Moynihan’s counterclaims.
25         98.   Marquez   denies    all   allegations   in   paragraph   98   of   Moynihan’s
26   counterclaims.
27         99.   Marquez   denies    all   allegations   in   paragraph   99   of   Moynihan’s
28   counterclaims.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1          100.   Marquez denies all allegations in paragraph 100 of Moynihan’s
2    counterclaims.
3          101.   Marquez denies all allegations in paragraph 101 of Moynihan’s
4    counterclaims.
5                                    Sixth Claim for Relief
6          102.   No response is required to paragraph 102 of Moynihan’s counterclaims.
7          103.   Marquez denies all allegations in paragraph 103 of Moynihan’s
8    counterclaims.
9          104.   Marquez denies all allegations in paragraph 104 of Moynihan’s
10   counterclaims.
11         105.   Marquez denies all allegations in paragraph 105 of Moynihan’s
12   counterclaims.
13         106.   Marquez denies all allegations in paragraph 106 of Moynihan’s
14   counterclaims.
15         107.   Marquez denies all allegations in paragraph 107 of Moynihan’s
16   counterclaims.
17                                  PRAYER FOR RELIEF
18         Marquez denies that Moynihan is entitled to the relief requested in his
19   counterclaims.
20                               DEMAND FOR JURY TRIAL
21         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Marquez demands
22   trial by jury on Moynihan’s counterclaims on any issue so triable of right by a jury.
23                                AFFIRMATIVE DEFENSES
24                                 First Affirmative Defense
25         Each and every cause of action and claim set forth in Moynihan’s counterclaims
26   fails to state a claim upon which relief can be granted. Specifically, Moynihan’s claims
27   are barred as no oral, written, or implied contract, partnership, and/or joint venture
28   existed between Moynihan and Marquez.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1                                Second Affirmative Defense
2          Moynihan’s claims are barred by the statutory and common law statute of frauds
3    to the extent they are premised on alleged oral promises to pay royalties or revenues
4    associated with Marquez’s Robotos project and any other projects outside the time frame
5    permitted by statutory or common law without a writing.
6                                 Third Affirmative Defense
7          Any recovery on Moynihan’s counterclaims, or any purported cause of action
8    alleged therein, is barred on the grounds that, if the contract, partnership, and/or joint
9    venture alleged by Moynihan did exist, which Marquez disputes, they were terminated
10   on or about August 4, 2021, when Moynihan agreed to leave the project.
11                                Fourth Affirmative Defense
12         Any recovery on Moynihan’s counterclaims, or any purported cause of action
13   alleged therein, is barred on the grounds that, if the contract, partnership, and/or joint
14   venture alleged by Moynihan did exist, which Marquez disputes, they were modified on
15   or about August 4, 2021, when Moynihan agreed to leave the project.
16                                 Fifth Affirmative Defense
17         Any recovery on Moynihan’s counterclaims, or any purported cause of action
18   alleged therein, is barred in that the terms of any alleged contract, partnership, and/or
19   joint venture between Marquez and Moynihan, which Marquez disputes, was materially
20   breached and repudiated by Moynihan, and he is therefore not entitled to relief upon
21   such alleged contract or agreement.
22                                 Sixth Affirmative Defense
23         Any recovery on Moynihan’s counterclaims, or any purported cause of action
24   alleged therein, is barred because the alleged contract, partnership, and/or joint venture
25   are too vague and ambiguous to be enforceable. Specifically, among other things, the
26   purported contract of “I would be down to split everything three ways” is ambiguous and
27   vague and reflects subjunctive mood.
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                         ANSWER TO AMENDED COUNTERCLAIMS
1                                Seventh Affirmative Defense
2          Moynihan is barred from recovery against Marquez for breach of written, oral,
3    and/or implied contract, partnership, and/or joint venture because the parties never had
4    a meeting of the minds.
5                                 Eighth Affirmative Defense
6          Any recovery on Moynihan’s counterclaims, or any purported cause of action
7    alleged therein, is barred on the grounds that if the contract, partnership, and/or joint
8    venture alleged by Moynihan did exist, which Marquez disputes, they were void.
9                                 Ninth Affirmative Defense
10         Any recovery on Moynihan’s counterclaims, or any purported cause of action
11   alleged therein, is barred on the grounds that if the contract, partnership, and/or joint
12   venture alleged by Moynihan did exist, which Marquez disputes, they were voidable.
13                                Tenth Affirmative Defense
14         Any recovery on Moynihan’s counterclaims, or any purported cause of action
15   alleged therein, for oral or implied contract, partnership, and/or joint venture is barred
16   on the grounds that no such relationship was executed.
17                              Eleventh Affirmative Defense
18         Moynihan’s counterclaims, or any purported cause of action alleged therein, is
19   barred by the doctrine of unclean hands.
20                               Twelfth Affirmative Defense
21         Moynihan’s counterclaims, or any purported cause of action alleged therein, is
22   barred by the doctrine of estoppel due to Moynihan’s own acts or omissions.
23                             Thirteenth Affirmative Defense
24         Moynihan’s counterclaims, or any purported cause of action alleged therein, is
25   barred by the doctrine of waiver and consent.
26                             Fourteenth Affirmative Defense
27         Moynihan’s counterclaims, or any purported cause of action alleged therein, is
28   barred by the doctrine of laches.

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                         ANSWER TO AMENDED COUNTERCLAIMS
1                                Fifteenth Affirmative Defense
2          Moynihan has not sustained any losses, damages, or detriment of any sum or
3    amount whatsoever as a result of any acts, fault, carelessness, recklessness, or other
4    alleged breach of duty on the party of Marquez.
5                                Sixteenth Affirmative Defense
6          Moynihan’s counterclaims, or any other causes of action alleged therein, are
7    barred, in whole or in part, because Marquez was justified in doing any and/or all of the
8    acts alleged in Moynihan’s counterclaims.
9                               Seventeenth Affirmative Defense
10         As for Moynihan’s claims premised on an alleged oral partnership or joint venture
11   between the parties, which Marquez denies, such claims are barred, in whole or in part,
12   because Moynihan abandoned or repudiated the alleged agreement at issue and
13   therefore released Marquez from all duties under the alleged agreement.
14                              Eighteenth Affirmative Defense
15         Moynihan’s counterclaims, or any other causes of action alleged therein, are
16   barred, in whole or in part, because Moynihan would be unjustly enriched if he was
17   allowed to recover any part of the damages alleged in his counterclaims.
18                              Nineteenth Affirmative Defense
19         Moynihan’s request for punitive or other enhanced damages is barred because
20   Marquez at no time acted with oppression, fraud, or malice towards Moynihan and
21   because Moynihan has failed to raise sufficient allegations to comply with California
22   Civil Code section 3294.
23                               Twentieth Affirmative Defense
24         At all relevant times, Marquez acted in good faith and Moynihan had or should
25   have had knowledge of all the true facts and circumstances, including without limitation
26   because the parties made clear that Moynihan was only entitled to a third of the proceeds
27   from the initial mint of Marquez’s Robotos NFT project.
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                         ANSWER TO AMENDED COUNTERCLAIMS
1                              Twenty-First Affirmative Defense
2          Moynihan’s counterclaims, and each alleged cause of action therein, fails to state
3    a claim for attorney’s fees, despite seeking the same in his prayer for relief.
4

5                            Twenty-Second Affirmative Defense
6          Moynihan’s counterclaims, and each alleged cause of action therein, are barred by
7    the doctrine of accord and satisfaction.
8                             Twenty-Third Affirmative Defense
9          Any recovery by Moynihan on his counterclaims is barred because any and all
10   alleged injuries or damages to him, the existence of which is specifically denied, were not
11   proximately caused or contributed to by Marquez. The conduct of Moynihan in failing to
12   cooperate with Marquez to launch Marquez’s project and for failing to build a bug-free
13   smart contract is the cause of any alleged damages in his counterclaims.
14                           Twenty-Fourth Affirmative Defense
15         On information and belief, Moynihan has failed to act reasonably to mitigate his
16   damages asserted in his counterclaims.
17                             Twenty-Fifth Affirmative Defense
18         If Moynihan prevails in his counterclaims, Marquez is entitled to setoff for any
19   monies received by Moynihan from Marquez for services provided or sums owed
20   associated with Marquez’s project or otherwise.
21                            Twenty-Sixth Affirmative Defense
22         Any recovery on Moynihan’s counterclaims, or any purported cause of action
23   alleged therein, is barred on the grounds that, no alleged contract, partnership, and/or
24   joint venture alleged by Moynihan was created because it was induced by fraud.
25   Specifically, Moynihan’s contribution to the alleged partnership and/or joint venture was
26   his services in preparing the smart contract and tasks related to minting the Robotos
27   NFTs. Moynihan represented that he had expertise in performing such services, which
28   representations he knew were not true and were made in an attempt to persuade

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                         ANSWER TO AMENDED COUNTERCLAIMS
1    Marquez to agree to the contract, partnership, and/or joint venture alleged by Moynihan.
2    Marquez reasonably relied on Moynihan’s representations and would have never agreed
3    to work with him had he known that these representations were not true.
4

5    Dated: March 14, 2022                  Respectfully submitted,
6
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11                                                -and-
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17                                          Attorneys for Plaintiff/Counter-Defendant
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18

19
                                CERTIFICATE OF SERVICE
20
           I hereby certify that on March 14, 2022, I electronically filed the foregoing
21
     document with the Clerk by using the CM/ECF system, which will serve a copy on all
22

23   counsel of record.

24
                                                  By: /s/ Ethan Jacobs
25
                                                        Ethan Jacobs
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     _________________________________________________________________________________
                         ANSWER TO AMENDED COUNTERCLAIMS
